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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA ex rel.                CASE NO. 2:09-cv-03010-MCE-JFM
FRANK SOLIS,
                                                ORDER GRANTING STIPULATION
                        PLAINTIFF,              REGARDING MOTION TO DISMISS
                                                THIRD AMENDED COMPLAINT
v.                                              BRIEFING SCHEDULE

                                                Amended Complaint to be filed: May 10, 2019
MILLENNIUM PHARMACEUTICALS,                     Current response date: May 24, 2019
INC., SCHERING-PLOUGH CORP., and                New response date: June 10, 2019
MERCK & CO.,
                       DEFENDANTS.              Assigned to: Hon. Morrison C. England, Jr.
                                                Location:     Courtroom 7, 14th Floor




       The Court has reviewed and considered the Stipulation Regarding Motion to Dismiss
Third Amended Complaint Briefing Schedule filed by the parties to this action.
       Good cause appearing, IT IS ORDERED that:
       1.     Defendants     Schering-Plough    Corp.,   Merck     &    Co.,   and   Millennium
Pharmaceuticals, Inc. shall file their anticipated responsive motions to the Third Amended
Complaint no later than June 10, 2019;
       2.     Plaintiff Relator Frank Solis shall file his opposition(s) to Defendants’ responsive
motions no later than July 17, 2019;

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ORDER GRANTING STIPULATION REGARDING MOTION TO DISMISS THIRD AMENDED COMPLAINT
                              BRIEFING SCHEDULE
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       3.     Defendants shall file their replies in support of their responsive motions no later
than August 1, 2019; and
       4.     The Court will hear the motions to dismiss on September 19, 2019, at 2:00 p.m..
       IT IS SO ORDERED.
Dated: May 2, 2019




ORDER GRANTING STIPULATION REGARDING MOTION TO DISMISS THIRD AMENDED COMPLAINT
                              BRIEFING SCHEDULE
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